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                  Exhibit 28
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                                                                                       Phone: 415.692.0772
 PRITZKER LEVINE LLP                                                                     Fax: 415.366.6100
                                                                                     www.pritzkerlevine.com




        Pritzker Levine LLP is a boutique law firm focused on complex litigation and trial work

nationwide. Our attorneys bring a unique blend of expertise, efficiency and sound judgment to

the vigorous representation of clients in individual and class cases.

        Pritzker Levine attorneys have successfully represented corporate clients, public entities,

pension funds, small businesses, nonprofit groups, labor unions, whistleblowers and injured

persons in cases involving antitrust violations, privacy violations, unfair competition, securities

fraud and derivative claims, commercial disputes, employment law and personal injuries –
resulting in recoveries in excess of $1.5 billion.

        Founding partners, Elizabeth Pritzker and Jonathan Levine, each have more than 30 years

of experience in complex, multi-party and class litigation. The firm’s highly accomplished

attorneys have repeatedly been recognized as “Top Attorneys,” “Super Lawyers” or “Rising Stars”

in their fields for their work serving their clients’ interests in courtrooms, mediations and

arbitrations across the country.

        Pritzker Levine LLP maintains offices in California and New York, and represents clients in

state and federal courts throughout the United States.

                         PRIVACY VIOLATIONS AND UNFAIR COMPETITION

        Pritzker Levine and its attorneys have represented consumers injured by violations of a wide

variety of deceptive practices and consumer protection laws. We have brought claims for all types of

consumers, including credit card holders and purchasers of prescription drugs, motor vehicles, cosmetics,

consumer electronics, and time shares interests. We also prosecute privacy class actions for consumers

impacted by unauthorized use of their personal information or by computer malware or data breaches.

Examples of some of our consumer law cases include:

       In re ZF-TRW Airbag Control Units Products Liability Litigation, Case No. 2:19-ml-02905-JAK-FFM
        (C.D. Cal.): Jonathan Levine serves as Plaintiffs’ Liaison Counsel in a multi-district action alleging
        that certain vehicles are installed with a defective Airbag Control Unit (“ACU”) designed by ZF
        Friedrichshafen AG. Plaintiffs allege that this defective ACU causes a critical component that
        monitors signals from crash sensors throughout affected vehicles to be unreasonably susceptible

_________________________________________________________________________________________
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Emeryville, CA 94608                                                                   New York, NY 10010
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     to damage from electrical overstress, which can result in malfunctioning airbags and seatbelts.
     The consolidated actions are pending before Central District of California Judge John A. Kronstadt,
     and are in active litigation.

    In re Google RTB Consumer Privacy Litigation, Case No. 5:21-cv-02155-LHK-VKD (N.D. Cal.):
     Elizabeth Pritzker serves as court-appointed Interim Class Counsel in this consolidated class action
     on behalf of a nationwide class of Google account holders alleging that class members’ personal
     information is improperly sold and disseminated by Google to thousands of companies through
     Google’s proprietary advertising auction process, which is effectuated through real-time bidding
     (“RTB”) auctions (the “Google RTB”) in violation of California and federal law. The consolidated
     actions are pending before Northern District of California Judge Yvonne Gonzalez Rogers and are
     in active litigation.

    Corcoran v. CVS Pharmacy, Inc., Case No. 15-cv-02624-YGR (N.D. Cal.): Pritzker Levine serves as
     Co-lead Class Counsel in a multi-state class action alleging a common fraudulent and deceptive
     pricing scheme by CVS to overcharge customers with third-party health care plans for generic
     prescription drugs purchased at CVS pharmacies. A multi-state class was certified, and an appeal
     of the district court’s summary judgment order was successfully appealed and reversed by the
     Ninth Circuit Court of Appeals. A jury trial was held in June 2021.

   In Re: Lenovo Adware Litigation, MDL No. 2624 (N.D. Cal): Pritzker Levine, as Co-Lead Class
     Counsel, represented a certified class of more than 800,000 consumers in a nationwide multi-
     district class action against Lenovo and Superfish for damages arising from the surreptitious
     installation of a Superfish spyware program by Lenovo on certain notebook computer models sold
     in the United States. The Superfish program “VisualDiscovery” allowed Superfish to monitor and
     alter computer users’ internet search results, and made those computers vulnerable to security
     breaches and data theft. The litigation resulted in an $8.3 million settlement to compensate
     purchasers of the affected Lenovo computers.

   Hubbard v. Google LLC, Case No. 5:19-cv-07016-BLF (N.D. Cal.): Pritzker Levine, as plaintiffs’
     counsel, represents a proposed class of minor children and their parents or guardians throughout
     the United States in litigation alleging that Google, YouTube and certain other companies that
     develop and advertise content on the YouTube platform illegally tracked and collected personal
     information and persistent identifiers for minor children viewing children’s content on YouTube.
     Plaintiffs successfully appealed the district court’s dismissal of the action on preemption grounds.
     The case remains before the Ninth Circuit Court of Appeal pending the resolution of Defendants’
     motion for panel rehearing or rehearing en banc.

   In re Adobe Systems, Inc., Privacy Litigation, Case No. 13-cv-05226-LHK (N.D. Cal.): As a member
     of the Plaintiffs’ Executive Committee, Pritzker Levine partner Elizabeth Pritzker represented
     consumers and a proposed class of users of Adobe software products whose personal private
     information or property was compromised as a result of allegedly substandard security practices
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    at Adobe that lead to a massive data and security breach in September 2013. The parties reached
    a settlement which required Adobe to substantially strengthen its security controls, including by
    undertaking new intrusion detection and encryption measures.

   In re Countrywide Financial Corp. Data Security Breach Litigation, Case No. 3:08-MD-1988 (W.D.
    Ky.): As a member of the Plaintiffs’ Executive Committee, Pritzker Levine partner Jonathan Levine
    represented a nationwide class of more than 2.4 million customers and potential customers of
    Countrywide whose personal information was stolen by a former employee and then sold to
    competing mortgage lenders. The case settled for more than $10 million of cash and other
    benefits as well as changes in Countrywide’s business practices.

    In re Volkswagen “Clean Diesel” Marketing, Sales Practices, and Products Liability Litigation,
     MDL No. 2672 (N.D. Cal): As cooperating plaintiffs’ counsel, Pritzker Levine represented class
     representatives in multi-district litigation stemming from Volkswagen’s admission to federal
     regulators in September 2015 that the company used illegal software to cheat emissions tests
     on certain of its four-cylinder diesel cars, including the popular TDI models of the VW Jetta,
     Passat, Golf and Beetle, and the Audi A3 TDI diesel sedan. A set of class settlements for monetary
     compensation and auto repairs totaling more than $10.3 billion has received final court approval.

    Gathron v. Chrysler Group, LLC, Case No. 4:13-cv-05922-WHO (N.D. Cal.): As Co-lead Counsel,
     Pritzker Levine partners Elizabeth Pritzker and Bethany Caracuzzo represented a proposed class
     of owners and lessees of 2011-2012 Dodge Chargers alleging that factory-installed headlight
     harnesses in these model year vehicles were defective and posed a serious safety hazard. The
     case was filed in the U.S. District Court for the Northern District of California, before Judge
     William H. Orrick. As a result of plaintiffs’ efforts, Chrysler instituted a recall and repair program
     that included reimbursement benefits to vehicle lessees and owners.

    In re GIB LLC Cases, J.C.C.P. No. 4657 (Cal. Sup. Ct., County of Los Angeles): As Co-lead Class
      Counsel in this California State Court Judicial Council Coordinated Proceeding, Elizabeth Pritzker
      represented certified classes of salon owners, hair stylists and consumers who were exposed to
      off‐gassing formaldehyde and other harsh chemicals from the Brazilian Blowout line of hair
      smoothing products and hair treatments that were deceptively advertised as “formaldehyde
      free” and as not containing harmful chemicals. In January 2014, the Los Angeles Superior Court
      granted final approval to a class settlement that provided substantial monetary benefits
      distributed to stylists and consumers, together with business practice changes with respect to
      the marketing, sale, handling, use, and disposition of Brazilian Blowout products.

    Benedict v. Diamond Resorts Corp., et al., Case No. 1:2012cv00183 (D. Hawaii): Pritzker Levine
      partners Elizabeth Pritzker and Jonathan Levine, as Co-lead Counsel, represented a class of
      timeshare owners challenging the imposition of an unauthorized Special Assessment fee for the
      repair of one of the timeshare resorts in Hawaii. Judge David A. Ezra granted final approval to
      a class action settlement of the matter in June 2013.
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           Berrien v. New Raintree Resorts, International, LLC, et al., Case No. 4:10-cv-03125-CW (N.D.
            Cal): Pritzker Levine partners Jonathan Levine and Elizabeth Pritzker, as Class Counsel,
            represented timeshare vacation program members of Raintree Vacation Club and Club Regina
            who were charged a Special Assessment Fee. Following favorable decisions on defendants’
            motions to dismiss by Northern District of California Judge Claudia Wilken and plaintiffs’
            motion for class certification, the case resulted in a court-approved class settlement.

           Wixon v. Wyndham Resort Development Corp., et al., Case No. C 07-2361- JSW (BZ) (N.D. Cal.):
            Pritzker Levine partners Jonathan Levine and Elizabeth Pritzker, as Lead Class and Derivative
            Counsel, represented time-share owners in a nationwide class action challenging pricing of
            WorldMark resorts and in derivative litigation against the WorldMark Board of Directors
            challenging corporate governance matters. After more than four years of litigation in federal
            and state court, the case was settled on favorable terms.

           In re Providian Credit Card Cases, J.C.C.P. No. 4085 (Cal. Sup. Ct., County of San Francisco):
            Pritzker Levine partner Jonathan Levine represented as Co-lead Counsel a nationwide class of
            Providian credit card holders in this California State Court Judicial Council Consolidated
            Proceeding. The lawsuit alleged that Providian engaged in unlawful, unfair and fraudulent
            business practices by charging its customers unauthorized fees and charges. The case resulted
            in a $105 million settlement, plus injunctive relief – one of the largest class action recoveries
            arising out of consumer credit card litigation.

        In re Ipod Cases, J.C.C.P. No. 4355 (Cal. Sup. Ct., County of San Mateo): Pritzker Levine partner
           Elizabeth Pritzker, as Co-lead Class Counsel, represented consumers in a nationwide class action
           lawsuit alleging that Apple’s advertising about the battery life of its First and Second Generation
           iPods was false and misleading. This Judicial Council Coordinated Proceeding, which was filed
           in California State Court, resulted in a settlement conservatively valued at $15 million, which
           provided warranty extensions, battery replacements, cash payments, and store credits for class
           members. The Honorable Beth Labson Freeman, now a Northern District of California Judge,
           presided over the case and settlement.


                                                 ANTITRUST

        Pritzker Levine has served as a lead or co-lead counsel in antitrust litigation matters representing

plaintiff classes alleging price fixing, monopolization and other anticompetitive conduct. We serve in a

court-appointed leadership capacity in certain cases, and contribute as members of a court-approved

executive committee or in a supportive role for the lead law firms in other cases.



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         While our leadership role varies, our contributions are always valuable.          Our leadership

experience includes the following antitrust matters:

        In re EpiPen (Epinephrine Injection, USP) Marketing, Sales Practices and Antitrust Litigation,
         MDL No. 2785 (D. Kan.): Co-Lead Class Counsel Elizabeth Pritzker represents a certified class of
         end-payer plaintiffs in a nationwide RICO and multi-state antitrust class action alleging that
         Mylan NV and Pfizer, Inc., the seller and manufacturer of the life-saving EpiPen, respectively,
         engaged in an unlawful scheme to sharply increase the price of the device while at the same
         time stifling competition seeking to enter the market. The case is pending before Judge Daniel
         D. Crabtree in the U.S. District Court of Kansas. A $345 million settlement with Pfizer received
         final court approval on November 17, 2021. A $264 million settlement with Mylan received final
         approval on July 11, 2022. The combined settlements provided $609 million in monetary relief
         for class members.

    • In re National Collegiate Athletic Association Grant-In-Aid Cap Antitrust Litigation, MDL No. 2541
      (N.D. Cal.): Additional Class Counsel Elizabeth Pritzker and Pritzker Levine represent college
      football and basketball players in an antitrust class-action against the National Collegiate Athletic
      Association (NCAA) and the NCAA’s most powerful conference members, the Pac-12, Big Ten, Big-
      12, SEC and ACC, claiming that these entities have agreed in violation of national antitrust laws to
      unlawfully cap the value of athletic scholarships. Firm clients, Justine Hartman and Afure
      Jemerigbe, both former University of California-Berkeley women’s basketball players, serve as
      class representatives in the case. Nationwide classes seeking injunctive relief have been certified,
      and $208 million class damages class settlement received final court approval in 2017. The
      injunctive relief case was tried, successfully, before the Hon. Claudia Wilken in 2018. The U.S.
      Supreme Court unanimously affirmed the judgment in June 2021. Nat'l Collegiate Athletic Ass'n v.
      Alston, __ U.S. __, 141 S. Ct. 2141 (June 21, 2021).

•       In Re Google Play Store Antitrust Litigation, Case No. 3:21-md-02981-JD (N.D. Cal.), Elizabeth
        Pritzker, as court-appointed Liaison Counsel, represents consumer class plaintiffs who use the
        Android OS operating system on their smart phone devices and who have downloaded or
        purchased applications (“apps”) through the Google Play Store. Plaintiffs allege that Google has
        knowingly created, and continues to exert, an unlawful monopoly over the market for the
        distribution of apps through the Android OS, making it impossible for users to purchase apps other
        than through the Google Play Store. The case is pending before Judge James Donato in the U.S.
        District Court for the Northern District of California, with trial presently set for November 2023.

        In re Packaged Seafood Products Antitrust Litigation, MDL No. 2670 (S.D. Cal.): Elizabeth
         Pritzker and Pritzker Levine serve on the Indirect Purchaser Plaintiffs’ Steering Committee and
         as Trial Counsel, representing a certified class of consumers in a multi-district antitrust case
         alleging price-fixing by the major producers of canned or packaged tuna products. The district
         court’s class certification decision is currently pending en banc review before the Ninth Circuit
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     Court of Appeals. This multi-district litigation has been assigned by the Judicial Panel on
     Multidistrict Litigation to Judge Dana M. Sabraw in the U.S. District Court for the Southern
     District of California, and is in active litigation. While not yet scheduled, the matter is expected
     to be set for trial in late 2023.

    Al’s Discount Plumbing, LLC et al., v. Viega, LLC, Case No. 1:19-cv-159 (M.D. PA): In her court-
     appointed role as Co-Lead Class Counsel, Elizabeth Pritzker represented indirect purchasers in a
     multi-state class action alleging anticompetitive and exclusionary conduct by a leading
     manufacturer of copper press pipe fittings. Chief Judge Christopher C. Conner in the U.S. District
     Court for the Middle District of Pennsylvania granted final approval granted final approval to a
     $15 million antitrust class settlement on behalf of a multi-state class of indirect purchasers of
     Viega ProPress® copper press fittings on December 18, 2020.

    Staley et al., v. Gilead Sciences at al., Case No. 3:19-cv-02573-EMC (N.D. Cal.): Pritzker Levine
     represents plaintiffs and putative class members in a class action lawsuit against drug
     manufacturer Gilead and others, including Johnson & Johnson and Bristol-Meyers Squibb, for
     knowingly colluding to raise the price of anti-HIV drugs, and wrongfully raising the price of
     treatment for the one million people in the United States living with HIV. The case is pending
     before Judge Edward Chen in the U.S. District Court for the Northern District of California and is
     set for trial in May 2023.

    Wood Mountain Fish LLC, et al, v. Mowi ASA (fka Marine Harvest ASA), et al., Case No. 19-cv-
     22128-RS (S.D. Fla.): Elizabeth Pritzker and Pritzker Levine serve on the Plaintiffs’ Steering
     Committee and represent an indirect purchaser plaintiff class in a multi-state antitrust class
     action alleging price fixing by the major producers of farm-raised salmon and salmon products.
     Judge Rodney Smith in the U.S. District Court for the Southern District of Florida (Ft. Lauderdale)
     granted final approval to a $33 million antitrust class settlement on February 27, 2023.

    In re Keurig Green Mountain Single-Serve Coffee Antitrust Litigation, MDL No. 2542 (S.D.N.Y.):
     Pritzker Levine serves on the Indirect Purchaser Plaintiff Litigation Committee and represents
     consumers and a proposed class of indirect purchasers in a nationwide class action against
     Keurig Green Mountain, Inc., Green Mountain Roasters, Inc., and Keurig, Inc. (collectively
     “Keurig”), for allegedly monopolizing the U.S. market for the sale of single-serve portion
     packages of coffee, tea, cocoa and other beverages. This multi-district litigation was
     consolidated before Judge Vincent S. Broderick in U.S. District Court for the Southern District of
     New York, who approved a $31 million class settlement on June 7, 2021.

    In re Transpacific Passenger Air Transportation Antitrust Litigation, Case No. 07-cv-5634-CRB
     (N.D. Cal.): Elizabeth Pritzker, as a member of Plaintiffs’ Executive Committee, represented a
     class of consumers and direct purchasers in a multi‐district class action alleging fuel surcharge
     price‐fixing by airlines in the transpacific passenger airline market. Plaintiffs secured class
     settlements totaling approximately $160 million.
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       In re TFT‐LCD (Flat Panel) Antitrust Litigation, MDL No. 1827 (N.D. Cal.): Liaison Counsel
        Elizabeth Pritzker represented a certified class of direct purchaser plaintiffs in a multi‐district
        antitrust class action alleging price‐fixing by foreign and domestic manufacturers of Thin Film
        Transistor Liquid Crystal Display (TFT‐LCD) panels and products. The case resulted in class
        settlements of $473 million, and an $87 million jury verdict before trebling. TFT-LCD is
        considered to be one of the largest antitrust MDL actions in the United States. The case was
        litigated and tried to verdict before Northern District of California Judge Susan Illston.

       Il Fornaio (America) Corporation et al. v. Lazzari Fuel Company, LLC et al., Case No. 13-cv-
        05197-WHA (N.D. Cal.): Class Counsel Elizabeth Pritzker represented a certified class of direct
        purchasers in antitrust class action alleging customer allocation and bid rigging among sellers of
        restaurant grade mesquite charcoal. Northern District of California Judge William Alsup granted
        final approval of a class-wide settlement that resulted in settlement payments to class members
        representing approximately 85% of actual antitrust damages.

       In re Lithium Ion Rechargeable Batteries Antitrust Litigation, MDL No. 2420 (N.D. Cal.):
        Elizabeth Pritzker and Pritzker Levine served as on the court-appointed Plaintiffs’ Steering
        Committee, representing direct purchasers in a multi‐district antitrust class action alleging price‐
        fixing by the major manufacturers of lithium ion rechargeable batteries. Direct purchaser
        plaintiffs secured over $70 million in settlements. Northern District of California Judge Yvonne
        Gonzalez Rogers granted final settlement approval on May 8, 2018.

                                            PERSONAL INJURY

        Pritzker Levine LLP offers personal, attentive and professional legal services to those who have

suffered pain or trauma as result of the negligent or wrongful conduct of others. The firm’s attorneys have

experience representing personal injury cases involving toxic chemicals, pharmaceuticals, dangerous

products, medical malpractice and unsafe conditions. Our lawyers have helped clients in wrongful death

cases, and in cases involving serious, permanent and debilitating injuries, such as spine and traumatic

brain injuries, severe burns, cancer, and other devastating losses. In all personal injury cases, from class

actions to mass actions to individual cases, we rigorously represent every claim and every client. Some of

our significant cases include:
     In Re Aqueous Film-Forming Foams Products Liability Litig., MDL No. 2873 (D.S.C): Elizabeth
        Pritzker (as a member of the Plaintiffs' Executive Committee) and Pritzker Levine represent
        current and former firefighters and some of their spouses in multi-district litigation against
        manufacturers, designers, sellers, suppliers, and distributors of Class B firefighting foams as well
        as protective clothing (turnouts) specifically designed for firefighters. Each of the firefighter
        plaintiffs has been diagnosed with and treated for cancers that Plaintiffs allege were caused by
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        years of on-the-job exposure to per- and polyfluoroalkyl (PFAS) substances present in the
        firefighting foams they used and the protective clothing they wore.

       Jane Doe and John Doe v. Steven Lawrence Katz, M.D., et al.: Pritzker Levine attorneys
        represented a mother and child in an action against a fertility clinic for accidentally transferring
        an embryo belonging to another couple into the mother and the intentional cover-up of the
        mistake until the child was 10 months old. The other couple then sought and later obtained
        shared custody of the child in unrelated family court proceedings. The case resulted in a $1 million
        settlement for the mother and child despite MICRA limitations in medical malpractice actions.

       McKay v. Caltrans: Pritzker Levine attorneys represented a husband and wife in dangerous road
        condition action against Caltrans, in which the husband was severely injured by a motorist whose
        vehicle crossed the median barrier on Highway 80 and struck him head-on. Plaintiffs alleged that
        Caltrans knew its median barriers could cause such cross-median accidents and failed to take any
        preventative action. The case resulted in $2.9 million settlement.

       Andrade v. JSS Restaurant Group, et al. The firm represented a recently-retired client who was
        hospitalized and treated for severe hemolytic uremic syndrome (HUS) resulting from E. coli
        bacterium poisoning caused by eating contaminated meal prepared and served by an artisanal
        burger chain. The case was litigated in the Contra Costa County Superior Court and settled close
        to trial for a significant monetary sum.

       Clergy Sexual Abuse/Coordinated Proceedings. Pritzker Levine attorneys represented a woman
        who was sexually abused as a child by her parish priest. Part of landmark action against the Los
        Angeles Archdiocese and the Diocese of Orange. The 562 cases, spanning four generations of
        victims, settled for $660 million.

       Mallard v. Mills Peninsula Health Services, et al. Pritzker Levine represented a client who, as a
        result of negligent care and treatment at both a hospital and skilled nursing facility, suffered
        injuries which became necrotic and infected, necessitating amputation of his leg below the knee.
        The client died in the course of the litigation. The case was filed, litigated and resolved, prior to
        trial, in a favorable monetary settlement for the client’s estate.

                        SHAREHOLDER AND SECURITIES FRAUD LITIGATION

        Pritzker Levine’s attorneys are leading advocates for individual and institutional investors, and

have a deserved reputation for success in representing shareholder interests in derivative or shareholder

litigation. Our experience in matters involving shareholder disputes or securities fraud includes the

following matters.

      Young v. Henderson, Case No. RG-15-778891 (Cal. Sup. Ct., County of Alameda): We represent

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     shareholders in direct and derivative litigation filed in California State Court, alleging individual
     and derivative claims on behalf of six California limited liability companies, and asserting claims
     for breaches of fiduciary duty, conversion, breaches of contract, and related claims arising out of
     defendants’ alleged misuse and misappropriation of foreign investment funds provided under the
     federal Immigration Investment, or EB-5, program. Pritzker Levine successfully moved for
     appointment of a receiver, and facilitated the sale of commercial real estate assets (including the
     landmark Oakland Tribune Tower), recouping approximately $30 million for foreign investors. The
     litigation is still pending in the California State Court, but has spawned a parallel federal
     enforcement action by the Securities and Exchange Commission (SEC), and a Ninth Circuit appeal
     that included a favorable appellate decision for Pritzker Levine and its clients. Northern District
     of California Judge Richard Seeborg is overseeing the litigation.

   Securities and Exchange Commission v. Bivona, et al., Case No. 3:16-cv-01386-EMC (N.D. Cal.):
     Pritzker Levine currently represents a majority investor group comprising approximately seventy
     percent of the membership interests in certain investment funds at issue as real parties in interest
     in a federal enforcement action by the SEC against a prior fund manager. Northern District of
     California Judge Edward Chen finally approved a resolution and plan of distribution as advocated
     by Pritzker Levine’s clients.

   In re Lehman Brothers Debt/Equity Securities Litigation, Case No. 1:08-cv-05523-LAK:GWC
     (S.D.N.Y): Pritzker Levine partner Jonathan Levine represented as Class Counsel a certified class
     of retail investors in Lehman-issued structured products sold by UBS Financial Services, Inc. The
     plaintiffs alleged that UBS violated federal securities laws by selling the structured products
     pursuant to offering documents that misrepresented Lehman’s financial condition and failed to
     disclose that the “principal protection” feature of many of the notes depended upon Lehman’s
     solvency. The case resulted in a settlement that created a $120 million fund to resolve the claims.

   In re SLM Corporation Securities Litigation, Case No. 08 Civ. 1029 (WHP) (S.D.N.Y): Pritzker Levine
     partner Jonathan Levine, as Lead Counsel, represented a nationwide class of investors of SLM
     Corporation (“Sallie Mae”) in litigation alleging that Sallie Mae, the leading provider of student
     loans in the U.S., misled the public about its financial performance in order to inflate stock
     prices. The case resulted in settlement that created a $35 million fund to resolve investors’ claims.

   In re Winstar Communications Securities Litigation, Case No. 01 Civ. 3014 (GBD) (S.D.N.Y.):
     Pritzker Levine partner Jonathan Levine represented Allianz of America, Inc., Fireman’s Fund and
     other large private institutional investors in federal securities litigation against the senior
     executives of Winstar Communications Inc., Lucent Technologies Inc. and Grant Thornton LLP,
     arising out of plaintiffs’ investments in Winstar Communications, Inc. The case was resolved
     through several confidential settlements, the last one achieved on the eve of trial.

   In re American Express Financial Advisors Securities Litigation, Case No. 04 Civ. 1773 (DAB)
     (S.D.N.Y.): Pritzker Levine partner Jonathan Levine represented as Co-lead Counsel a nationwide
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          class of individuals who bought financial plans and invested in mutual funds from American
          Express Financial Advisors. The case alleged that American Express steered its clients into
          underperforming “shelf space funds” to reap kickbacks and other financial benefits. The case
          resulted in a cash settlement of $100 million.

                                           BUSINESS LITIGATION

        Pritzker Levine has successfully handled litigation matters for corporate and business clients

involving breach of contract, breaches of fiduciary duty, unfair competition, deceptive labeling, trade libel

and other matters. While we employ our legal and business acumen to resolve business disputes

amicably, the firm’s attorneys are respected and skillful trial counsel. Some recent cases and trial

successes include:

         Farmhouse DTLA Inc. v. LA Farmers Inc., Case No. A245061-24 (Judicate West – Los Angeles):
          Partner Jonathan Levine and the Pritzker Levine firm represent a local tech company in a breach
          of contract and breach of fiduciary duty arbitration matter arising from an investment in and the
          subsequent sale of a marijuana grow operation and dispensary in Los Angeles, California. The
          matter was arbitrated in February 2021, resulting in a favorable arbitration award for the firm’s
          client.

         ITyX Solutions, AG v. Kodak Alaris Inc., Case No. 1:16-cv-10250-ADB (D. Mass.): As chief trial
          counsel, firm partners Elizabeth Pritzker and Jonathan Levine successfully litigated an
          international business dispute involving artificial intelligence technologies. After a 10-day trial in
          the District Court of Massachusetts, the jury returned a unanimous $9.2 million verdict in favor of
          Pritzker Levine’s clients, and United States District Court Judge Allison D. Burroughs entered
          judgment in favor of the firm’s clients on equitable claims. Pritzker Levine also successfully
          defended the jury verdict after the defendant appealed to the First Circuit Court of Appeals.

         BeUbiq, Inc. v. CCG, Inc., Case No. 114cv270691 (Cal. Sup. Ct., County of Santa Clara): Partners
          Jonathan Levine and Bethany Caracuzzo represented a Silicon Valley tech start-up in a breach of
          contract action against a software development company that BeUbiq hired to develop the
          software platform for its principal product, and obtained a California State Court jury verdict
          favorable to their clients.

         BTI Group v. Forrests Music, Case No. C-17-00780 (Cal. Sup. Ct., County of Contra Costa): Pritzker
          Levine represented local business owners who were sued for breach of contract in connection
          with the sale of their business. Following several months of litigation, Pritzker Levine was able to
          obtain a dismissal with prejudice for its clients.




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PRITZKER LEVINE LLP


                                            ATTORNEY PROFILES

Elizabeth C. Pritzker

Elizabeth C. Pritzker is a co-founding partner of Pritzker Levine LLP, where she represents consumers,
shareholders and businesses harmed by corporate wrongdoing and unfair competition. Elizabeth
practices exclusively in the areas of litigation, trial and client counseling. She has prosecuted cases against
monopolists, price-fixing cartels, big tech, major manufacturers, pharmaceutical companies, and the
NCAA.

Elizabeth is frequently appointed by courts to lead major complex cases. Most recently, Elizabeth was
appointed to serve as: (1) Interim Class Counsel in In re Google RTB Consumer Privacy Litigation, a putative
nationwide class action on behalf of Google account holders alleging that class members’ personal
information is improperly sold and disseminated by Google through Google’s proprietary advertising
auction process, which is effectuated through real-time bidding (“RTB”) auctions in violation of California
and federal law; (2) Co-Lead Counsel in the In Re EpiPen (Epinephrine Injection, USP) Marketing, Sales
Practices and Antitrust Litigation, a nationwide RICO and multi-state antitrust class action alleging that
Mylan NV and Pfizer, Inc., the seller and manufacturer of the life-saving EpiPen, respectively, engaged in
an unlawful scheme to sharply increase the price of the device while at the same time stifling competition
from others seeking to enter the market; and (3) as Liaison Counsel for the consumer plaintiff class in the
In re Google Play Store Antitrust Litigation, a multi-district antitrust class action alleging that Google has
knowingly created, and continues to exert, an unlawful monopoly over the market for the distribution of
apps through the Android OS, making it impossible for users to purchase apps other than through the
Google Play Store.

Elizabeth also serves as Additional Class Counsel in In re NCAA Grant-in-Aid Cap Antitrust Litigation, in
which a trial verdict on behalf of a nationwide class of college athletes challenging NCAA-imposed caps on
athletic scholarships has recently been upheld in a unanimous decision by the U.S. Supreme Court in June
2021. Nat'l Collegiate Athletic Ass'n v. Alston, __ U.S. __, 141 S. Ct. 2141 (June 21, 2021).

Additionally, Elizabeth serves on the leadership team and as trial counsel in the In re Packaged Seafood
Products Antitrust Litigation, a certified class action on behalf of consumers harmed by price-fixing
cartelists in the packaged tuna industry. This multi-district antitrust class action is expected to be
scheduled for trial in late 2023.

Elizabeth’s past work includes her appointment as Plaintiffs’ Class Counsel in Il Fornaio (America)
Corporation v. Lazzari Fuel Company, LLC, an antitrust class action alleging customer allocation and bid
rigging among sellers of restaurant grade mesquite charcoal. She was appointed to the Direct Purchaser
Plaintiffs’ Steering Committee in the In re Lithium Ion Rechargeable Batteries Antitrust Litigation, and
Liaison Counsel in the In re TFT-LCD (Flat Panel) Antitrust Litigation.

Elizabeth heads up the firm’s antitrust practice, with additional leadership roles in In re German
Automotive Manufacturers Antitrust Litigation (Plaintiffs’ Steering Committee); In re Transpacific
Passenger Air Transportation Antitrust Litigation (Plaintiffs’ Executive Committee); In re Domestic Drywall
Antitrust Litigation (Liability Team Leader/Plaintiffs’ Steering Committee); and In re Keurig Green
Mountain Single-Serve Coffee Antitrust Litigation (Indirect Purchaser Plaintiffs’ Litigation Committee).


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PRITZKER LEVINE LLP

Elizabeth is experienced and successful in trial work. As recent examples, in addition to her work in the
NCAA trial, she and law firm partner, Jonathan Levine, obtained a $9.2 million federal jury trial verdict for
a German-based tech start-up in ITyX AG v. Kodak Alaris, Inc, No. 16-cv-10250-ADB (D. MA), that has been
upheld by the First Circuit.

Elizabeth and the Pritzker Levine firm are leading the charge in several personal injury matters on behalf
of firefighters who have been diagnosed with cancer and other serious illnesses as a result of their
exposure to PFAS chemicals in Class B firefighter foams and firefighter protective gear (“turnouts”).

Education
   • University of San Francisco School of Law, J.D.
   • McGill University, B.A (Economics)

Admissions
   • California
   • United States Supreme Court
   • United States Court of Appeals for the Ninth Circuit
   • United States District Courts for the Northern, Central, Southern and Eastern Districts of
       California, the District of Colorado, and the Eastern District of Michigan

Honors/Appointments
   • Public Justice Foundation “Attorney of the Year” Nominee in 2023
   • California Lawyers Association “Antitrust Lawyer of the Year” in 2022
   • Recipient, American Antitrust Institute (AII) Award for Outstanding Antitrust Litigation
       Achievement in Private Law Practice, in 2022 and 2015
   • Daily Journal “Top Antitrust Lawyer in 2020”
   • Northern California “Super Lawyer”
   • Northern California “Top 100 Lawyers”
   • Northern California “Top 50 Women Lawyers”
   • Past Chair, Antitrust and Unfair Competition Law Section of the California Lawyers Association,
       and founder of Section’s Diversity & Inclusion Fellowship Program
   • Past Editor-in-Chief, Competition - Journal of the Antitrust and Unfair Competition Law Section of
       the California Lawyers Association
   • Past Executive Committee Member of the Antirust and Unfair Competition Law Section of the
       California Lawyers Association (formerly the State Bar of California)
   • Appointed Lawyer Representative, Ninth Circuit Conference Executive Committee
   • Appointed Lawyer Representative, United States District Court for the Northern District of
       California
   • Member/Contributing Author, Duke Law Committee on Standards and Best Practices for
       Increasing Diversity in Mass Tort and Class Action Leadership
   • Board of Governors of Consumer Attorneys of California
   • Board Member, Legal Aid Society of San Mateo County
   • Board Member, Bay Area Lawyers for Individual Freedom

Memberships
  • American Bar Association, Antitrust Law Section
  • California Lawyers Association, Antitrust & UCL Section
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PRITZKER LEVINE LLP

    •   American Association for Justice
    •   Consumer Attorneys of California
    •   Alameda County Bar Association
    •   Bay Area Lawyers for Individual Freedom

Jonathan K. Levine

Jonathan K. Levine is a co-founding partner of Pritzker Levine LLP, where he represents investors, multi-
national corporations, small businesses, whistleblowers and consumers in individual, derivative and class
action litigation. Jonathan has more than 30 years of experience prosecuting complex securities fraud,
business, antitrust and consumer class action litigation in state and federal courts.

Jonathan has served in a leadership role in numerous cases brought under federal and state securities,
antitrust and consumer statutes. He also has successfully represented whistleblowers before the U.S.
Securities and Exchange Commission, the U.S. Commodity Futures Trading Commission and the U.S.
Department of Justice. Jonathan currently serves as Co-Lead Counsel in In re Lenovo Adware
Litigation, where he represents more than 800,000 consumers in a nationwide multidistrict class action
against Lenovo and Superfish for damages arising from the surreptitious installation of computer spyware
on certain Lenovo computer models sold in the United States, and in Corcoran v. CVS Pharmacy, Inc., a
class action alleging that CVS wrongfully overcharges consumers who are insured and have third-party
prescription drug coverage for commonly prescribed generic prescription drugs. He is also serving on the
leadership team in the In re ZF-TRW Airbag Control Units Products Liability Litigation, a nationwide
multidistrict class action concerning defective airbag control units in certain vehicles.

Jonathan has an active business litigation and trial practice. He served as lead trial counsel, with firm
partner Elizabeth Pritzker, in ITyX Solutions, AG v. Kodak Alaris Inc., representing several German
companies and their executives in an international business dispute involving breaches of contract and
fiduciary duty. After a 10-day trial in the District Court of Massachusetts, the jury returned a unanimous
$9.2 million verdict in favor of Pritzker Levine’s clients. Jonathan also served as lead trial counsel, with
firm partner Bethany Caracuzzo, in BeUbiq, Inc. v. CCG, Inc., a breach of contract dispute, in which the firm
obtained a favorable jury verdict for their Silicon Valley tech clients.

Jonathan currently represents a local tech entrepreneur in an ongoing breach of contract, breach of
fiduciary duty and derivative action arising from his ownership interests in several related limited liability
companies and partnerships. That action, while ongoing, has already resulted in the recovery of more
than $29 million of misappropriated investor funds. Jonathan also currently represents a group of more
than 130 accredited investors in a securities fraud action brought by the SEC against the managers of
several investment funds. In that case, he successfully argued for the adoption of a receivership
distribution plan different than the plan proposed by the SEC.

Education
   • Fordham University School of Law, J.D.
   • Columbia University, B.A.

Admissions
   • California
   • New York
   • Connecticut
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PRITZKER LEVINE LLP

    •   United States Supreme Court
    •   United States Courts of Appeals for the Second, Fourth, Ninth and Eleventh Circuits
    •   United States District Courts for the Southern and Eastern Districts of New York, the Northern,
        Central, Southern and Eastern Districts of California, the Northern District of Texas, the District of
        Colorado, and the Eastern District of Michigan

Honors/Appointments
   • Chair, Executive Committee of the Business Section of the Alameda County Bar Association
   • Appointed Member, Executive Committee of the Antitrust and Unfair Competition Law Section of
       the California Lawyers Association
   • Appointed Member, Committee on Federal Courts of the State Bar of California
   • American Bar Association Litigation Section Subcommittee on Officers and Directors Liability
   • National Association of Public Pension Attorneys’ Morrison Working Group
   • Northern California “Super Lawyer”

Memberships
  • California Lawyers Association
  • Alameda County Bar Association
  • New York State Bar Association
  • Connecticut Bar Association

Bethany L. Caracuzzo
Bethany L. Caracuzzo has more than twenty years of experience litigating federal and state antitrust
violations, defective products and services, employment law disputes, and catastrophic injury actions.

Bethany has been active in the firm’s prosecution of antirust class actions, including Al’s Discount
Plumbing LLC v. Viega LLC (representing plumbers alleging that a plumbing fitting manufacturer uses its
monopoly power to undermine competitors in the market for copper pipe press fittings); In re Packaged
Seafood Products Antitrust Litigation (representing end payor plaintiffs in a multi-district class action
alleging price fixing by producers of packaged seafood products); Corcoran v. CVS Pharmacy, Inc.
(representing consumers in a class action alleging that CVS wrongfully overcharges consumers who are
insured and have third-party prescription drug coverage for commonly prescribed generic prescription
drugs); In Re Transpacific Air Transportation Antitrust Litigation (representing consumers in a multi-district
class action alleging fuel surcharge price-fixing by airlines in the transpacific passenger airline market); In
re Domestic Drywall Antitrust Litigation (representing nonprofit housing development entities and
indirect purchasers in a multi-district class action alleging price fixing by U.S. drywall manufacturers);
and Il Fornaio (America) Corporation v. Lazzari Fuel Company, LLC (representing restaurant-consumers
alleging price-fixing by distributors of mesquite lump charcoal used in cooking and preparing food). She
was also a key contributor to the firm’s settlement of consumer class action litigation involving the
Brazilian Blowout line of hair smoothing products.

Bethany, along with partner Jonathan Levine, successfully tried to a jury verdict a breach of contract action
involving a Silicon Valley start-up. She has also served as a member of several trial teams in litigating cases
to verdict, including those involving wrongful death, traumatic birth injuries and injuries from defective
products.



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PRITZKER LEVINE LLP

Prior to joining Pritzker Levine, Bethany spent twelve years representing injured victims and employees
at two San Francisco Bay Area law firms, where she litigated and obtained favorable settlements in
personal injury cases involving medical malpractice, dangerous drugs, defective products, dangerous
property conditions, and motor vehicle accidents.

Education
   • California Western School of Law, J.D.
   • Boston College, B.A., cum laude

Admissions
   • California
   • United States Supreme Court
   • United States Court of Appeals for the Ninth Circuit
   • United States District Courts for the Northern, Central, Southern and Eastern Districts of California

Honors/Appointments
   • The Sedona Conference Working Group 1
   • Northern California “Super Lawyer”

Memberships
  • American Bar Association, Antitrust Section
  • Consumer Attorneys of California
  • San Francisco Trial Lawyers Association
  • American Association for Justice
  • Alameda County Bar Association

Heather P. Haggarty
Heather P. Haggarty represents consumers, investors, and individuals in class actions and other complex
litigation, holding companies and institutions accountable when they engage in misconduct. Over her 24-
year legal career, Heather has litigated a wide range of commercial cases involving securities fraud,
trademark, copyright, product liability and patent infringement and white-collar criminal defense. She
also has experience in internal corporate investigations.

Most recently, Heather has had the privilege of aiding in the litigation of the In Re EpiPen (Epinephrine
Injection, USP) Marketing, Sales Practices and Antitrust Litigation, (a class action alleging that the seller
and manufacturer of the life-saving EpiPen engaged in anticompetitive practices in an unlawful scheme
to sharply increase the price of the device); In re NCAA Grant-in-Aid Cap Antitrust Litigation (on behalf of
a nationwide class of college athletes challenging NCAA-imposed caps on athletic scholarships); and
Corcoran v. CVS Pharmacy, Inc. (a class action on behalf of insured consumers who were allegedly
overcharged at CVS pharmacies for their generic prescription drugs).

Heather is active in the firm’s prosecution of several personal injury matters on behalf of firefighters who
have been diagnosed with cancer and other serious illnesses as a result of their exposure to PFAS
chemicals in Class B firefighter foams and firefighter protective gear (“turnouts”).

Prior to joining Pritzker Levine, Heather worked at Bullivant Houser Bailey PC in San Francisco and Dorsey
& Whitney, LLP in New York. Heather has served as a volunteer attorney with the Lawyers Committee for

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PRITZKER LEVINE LLP

Civil Rights Under Law and with Public Justice in Oakland, California. She has also done volunteer work for
Public Advocates in San Francisco.
Education
     • Fordham University School of Law, J.D.
     • Scripps College, B.A.

Admissions
   • California
   • New York
   • United States District Courts for the Northern and Central Districts of California, and the Southern
       District of New York

Memberships
  • California Lawyers Association
  • New York State Bar Association

Caroline C. Corbitt

Caroline C. Corbitt is an associate attorney with a practice that encompasses a wide range of complex
commercial litigation, including antitrust, privacy, consumer protection, defective products, and business
litigation.

Caroline has been active in the firm’s prosecution of In re Google RTB Consumer Privacy Litigation (a class
action alleging that Google account holders’ personal information is improperly sold and disseminated by
Google to thousands of companies through Google’s proprietary RTB advertising auction process); Wood
Mountain Fish LLC, et al, v. Mowi ASA (representing an indirect purchaser plaintiff class in a multi-state
antitrust class action alleging price fixing by the major producers of farm-raised salmon and salmon
products); In Re Google Play Store Antitrust Litigation (an antitrust class action alleging that Google has
an unlawful monopoly over the market for the distribution of apps through the Android OS through its
Play Store); Staley et al., v. Gilead Sciences at al. (a class action lawsuit against drug manufacturer Gilead,
Johnson & Johnson and Bristol-Meyers Squibb, for knowingly colluding to raise the price of anti-HIV drugs,
and wrongfully raising the price of treatment for the one million people in the United States living with
HIV), Hubbard v. Google LLC (a nationwide class action on behalf of minor children alleging that Google,
YouTube and certain other companies that advertise content on YouTube illegally tracked and collected
personal information and persistent identifiers for minor children viewing children’s content on YouTube),
and Corcoran v. CVS Pharmacy, Inc., (a class action on behalf of insured consumers who were allegedly
overcharged at CVS pharmacies for their generic prescription drugs).

Prior to joining Pritzker Levine, Caroline worked for four years as an associate attorney at Gibbs Law Group
LLP. While there, she worked on numerous class action lawsuits that received widespread national media
coverage, including In re Anthem, Inc. Data Breach Privacy Litigation; In re Wells Fargo Collateral
Protection Insurance Litigation; and Fero v. Excellus Health Plan, Inc.

During law school, Caroline was a summer extern for the Honorable Laurel Beeler, Magistrate Judge of
the United States District Court, Northern District of California. She also completed externships at the
Federal Trade Commission and the California Department of Justice, Antitrust Division.


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PRITZKER LEVINE LLP

Education
   • University of Southern California, J.D.
   • Harvard University, B.A.

Admissions
   • California
   • United States Court of Appeals for the Ninth Circuit
   • United States District Courts for the Northern, Central, and Southern Districts of California

Honors/Appointments
   • Northern California “Rising Star”
   • Senior Editor, The California Antitrust and Unfair Competition Law Treatise

Memberships
  • California Lawyers Association

Richard R. Seal

Richard R. Seal is of counsel to Pritzker Levine LLP. Rick is based in the firm’s California office where is
working with first responders who have sustained injuries from occupational exposure to toxic materials.

For the past four years, Rick has been working with firefighters who have sustained injuries and illness
associated with workplace hazards. Rick has counseled fire chiefs and union officials in the development
of protocols aimed at reducing the incidence of cancer in the fire service.

Rick is an active member of the firm’s litigation team representing dozens of clients in several personal
injury matters on behalf of firefighters who have been diagnosed with cancer and other serious illnesses
as a result of their exposure to PFAS chemicals in Class B firefighter foams and firefighter protective gear
(“turnouts”).

Prior to attending law school and joining Pritzker Levine, Rick had a long and distinguished career in public
safety. Over three decades, Rick served as a mobile intensive care paramedic, and then as a firefighter,
fire captain, Battalion Chief and EMS Chief in San Jose, California. Rick ended his public safety career as
the Fire Chief for the East Bay Regional Park District. In 1998, Rick received a Medal of Valor- Class A for a
successful rescue and resuscitation of a young woman trapped in a residential structure fire.

Rick is also an accredited attorney with the United States Veterans Administration focusing on assisting
veterans obtaining their benefits.

Education
   • Golden Gate University, J.D.
   • San Jose State University, M.P.A., pi alpha
   • University of California, Berkeley, B.A., phi beta kappa

Admissions
   • California
   • United States District Court for the Northern District of California

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PRITZKER LEVINE LLP


Memberships
  • California Lawyers Association

Anne Maness Whitney

Anne C. Maness Whitney is an associate attorney whose practice focuses on antitrust and privacy. She has
assisted in the litigation of In re Google Play Store Antitrust Litigation (representing consumers in a multi-
district antitrust class action alleging that Google has knowingly created, and continues to exert, an
unlawful monopoly over the market for the distribution of apps through the Android OS, making it
impossible for users to purchase apps other than through the Google Play Store); Al’s Discount Plumbing
LLC v. Viega LLC (representing plumbers alleging that a plumbing fitting manufacturer uses its monopoly
power to undermine competitors in the market for copper pipe press fittings), In re: National Collegiate
Athletic Association Athletic Grant-in-Aid Cap Antitrust Litigation (representing current and former
student-athletes in a class action alleging artificial caps on scholarships) and In re: Lenovo Adware
Litigation (representing consumers in a class action alleging secret installation of spyware.) Anne holds a
certification from the International Association of Privacy Professionals in the area of U.S. private sector
(C.I.P.P./US).

Education
   • George Mason University School of Law, J.D.
   • Duke University, B.A.

Admissions
   • California
   • North Carolina

Memberships
  • California Lawyers Association
  • North Carolina Bar Association




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